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10
                                UNITED STATES DISTRICT COURT
11
                              CENTRAL DISTRICT OF CALIFORNIA
12
                                             Case No. 2:19-CV-01717 RGK-AGR
13

14                                          Assigned to Hon. R. Gary Klausner

15   ALEX MORGAN, et al.,                   CLASS MEMBER AND OBJECTOR
                                            HOPE SOLO’S MEMORANDUM IN
16               Plaintiffs,                SUPPORT OF EX PARTE
                                            APPLICATION TO REQUEST A BRIEF
17         v.                               CONTINUANCE OF THE DECEMBER
                                            12, 2022 FINAL APPROVAL HEARING
18   UNITED STATES SOCCER                   TO A DATE ON OR AFTER
     FEDERATION, INC.,                      DECEMBER 15, 2022
19
                 Defendant.                 [Filed concurrently with: Notice to Counsel
20
                                            of Class Member and Objector Hope Solo’s
21                                          Ex Parte Application; Class Member and
                                            Objector Solo’s Ex Parte Application;
22
                                            Declaration of Class Member and Objector’s
23                                          Counsel A.J. de Bartolomeo; and [Proposed]
                                            Order re Ex Parte Application to Request a
24                                          Brief Continuance of Final Approval
                                            Hearing]
25

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28
     CLASS MEMBER AND OBJECTOR HOPE SOLO’S MEMO IN SUPPORT OF EX PARTE APPLICATION TO
             REQUEST A BRIEF CONTINUANCE OF THE FINAL APPROVAL HEARING DATE
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 1          Class Member and Objector Hope Amelia Solo Stevens (“Class Member and Objector Solo”

 2 or “Solo”) applies ex parte to the Court for an Order Approving Solo’s Ex Parte Application to

 3 Request a Brief Continuance of the December 12, 2022 Final Approval Hearing to A Date On Or

 4 After December 15, 2022 (“Ex Parte Application”). Counsel for Solo is unable to attend the Final

 5 Approval Hearing on December 12, 2022, due to a preexisting international obligation. See the

 6 Declaration of Class Member And Objector’s Counsel A.J. de Bartolomeo In Support of Ex Parte

 7 Application To Request A Brief Continuance Of the December 12, 2022 Final Approval Hearing To

 8 A Date On Or After December 15, 2022 (“de Bartolomeo Decl.”), filed concurrently herewith.

 9 Therefore, Class Member and Objector Solo applies ex parte to the Court to request a brief
10 continuance of the Final Approval Hearing from December 12, 2022 to a date on or after

11 December 15, 2022. Class Counsel advised that they intend to oppose the Ex Parte Application.

12 Defense Counsel advised they are conferring with their client on Class Member and Objector Solo’s

13 request for a brief continuance to accommodate the schedule of Solo’s counsel to allow her to return

14 to the United States as scheduled and present the Objection at the Final Approval Hearing. Pursuant

15 to Local Rule 7-19, the name, address, telephone number, and email address of counsel for both

16 parties are below:

17
                        Class Counsel                                 Defense Counsel
18

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 1 I.       PROCEDURAL BACKGROUND

 2          1.     On June 22, 2022, the members of the Women’s National Team (“WNT”) in this class

 3 action lawsuit (“Morgan Plaintiffs”), against Defendant U.S. Soccer Federation, Inc. (“USSF”), filed

 4 a Notice of Motion and Motion for Preliminary Approval of Class Action Settlement (“Preliminary

 5 Approval Motion”), attaching as exhibits the proposed Class Action Settlement Agreement And

 6 Release Of Pay Claims (“Settlement Agreement”) and the Notice of Class and Collective Action

 7 Settlement (“Class Notice”). ECF Nos. 317-2 and 317-3.

 8          2.     On October 10, 2022, counsel of record for the Morgan Plaintiffs and for Defendant

 9 USSF filed a Joint Stipulation to Continue Final Approval Hearing from December 5, 2022 to
10 December 12, 2022 (“Stipulation”), as the original Final Approval Hearing was scheduled before 90

11 days expired from the September 9, 2022, CAFA service date. ECF No. 321.

12          3.     On October 11, 2022, Counsel for Class Member and Objector Solo filed a Notice Of
13 Objection And Objection To Final Approval Of Settlement And Request For Attorney’s Fees (“Solo’s

14 Objection”), and supporting documents and evidence, which indicated Solo’s intent to appear at the

15 Final Approval Hearing. ECF Nos. 322, 323, 325, 326, 327, and 328. Solo’s Objection was timely

16 filed under the Class Notice.

17          4.     On October 11, 2022, the Court issued an Order granting the Stipulation and setting
18 the Final Approval Hearing for December 12, 2022. ECF No. 326.

19 II.      ARGUMENT
20          5.      Ex parte applications are generally reserved for extraordinary relief, which exists
21 here. “First, evidence must demonstrate that the moving party’s cause ‘will be irreparably

22 prejudiced if the underlying motion is heard according to regular noticed motion

23 procedures.’ [See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal.

24 1995)]. Second, the moving party must establish that it is ‘without fault in creating the crisis that

25 requires ex parte relief, or that the crisis occurred as a result of excusable neglect.’ Id.”

26 Cannavan v. Cnty. of Ventura, Case No. CV2010012FMOPVCX, 2021 WL 4945186, at *3 (C.D.

27 Cal. July 16, 2021) (emphasis added).

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 1          6.     Class Member and Objector Solo did not create the crisis that requires this Ex Parte

 2 Application.

 3          7.     On October 10, 2022 – before the parties filed the Stipulation -- Solo’s Counsel

 4 Richard Nichols spoke with Class Counsel to advise that Solo will be file an objection on October 11,

 5 2022. Class Counsel did not indicate that the Final Approval date may change or that the parties were

 6 filing the Stipulation. See de Bartolomeo Decl. ¶ 13.

 7          8.     Class Member and Objector Solo retained Attorney A.J. de Bartolomeo because of her

 8 extensive class action experience. Ms. de Bartolomeo was the principal author of Solo’s Objection

 9 and she is the lawyer best positioned to present Solo’s Objection to the Court at the Final Approval
10 Hearing. See de Bartolomeo Decl. ¶ 16. It was the expectation of both Solo and Ms. de Bartolomeo

11 that Ms. de Bartolomeo would present the Solo Objection at the Final Approval Hearing. See de

12 Bartolomeo Decl. ¶ 20.

13          9.     However, due to a Covid-19-long-delayed international commitment involving family
14 and friends, Ms. de Bartolomeo will not even be in the United States at 9:00 a.m. PT on December

15 12, 2022. See de Bartolomeo Decl. ¶ 7. It would be not only very difficult and costly for Counsel to

16 attend the recently rescheduled December 12, 2022 Final Approval Hearing, but also disruptive to

17 others not involved in this litigation. See de Bartolomeo Decl. ¶ 9. For Ms. de Bartolomeo to attend

18 the rescheduled hearing, she would need to change multiple flights and train tickets, accommodations,

19 incur cancellation fees and penalties, as well as cancel 3 – 4 days of the international commitment to

20 leave early, and secure additional caregiver coverage for her senior family member. These changes

21 would affect several other people from multiple countries whose schedules have been held for the

22 international commitment since May 2022. Their plans and calendars would be affected substantially

23 and detrimentally – through no fault or involvement of their own in the legal matter here, Morgan v.

24 USSF. See de Bartolomeo Decl. ¶¶ 10 – 11.

25          10.    Neither Ms. De Bartolomeo nor her travel companions caused or created the
26 scheduling problem that led to this Ex Parte Application.

27          11.    On October 11, 2022, Solo timely filed her Objection, which stated that she intends to
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 1 appear in person or by and through her Counsel at the Final Approval Hearing on December 5, 2022.

 2 ECF No. 325, at page 10.

 3          12.      On October 11, 2022, the Court issued an Order granting the Stipulation and

 4 continuing the Final Approval Hearing to December 12, 2022. ECF No. 326.

 5          13.      While it is unclear when the parties realized that that the Final Approval Hearing was

 6 scheduled less than the 90 days required from the September 9, 2022 CAFA notice date, the parties

 7 filed the Stipulation on the evening of October 10, 2022 -- the night before the deadline for objections.

 8 Despite being aware that Solo was likely to file an objection on October 11, 2022, Class Counsel did

 9 not mention the CAFA miscalculation during a phone call with Solo’s Counsel Rich Nichols on
10 October 10, 2022. See de Bartolomeo Decl. ¶ 13. If Class Counsel shared the information that the

11 parties would stipulate to a continuation of the December 5, 2022 Final Approval Hearing, Solo would

12 have offered her cooperation and provided acceptable dates so that all parties could appear at the

13 hearing with their counsel of choice. Id.

14          14.      Solo did not cause or create the crisis that led to this Ex Parte Application. On the
15 contrary, if Solo was timely aware of the situation, it would have been in Solo’s interest to cooperate

16 with both parties to avoid this scheduling problem.

17          15.      On October 12, 2022, Solo’s counsel Richard Nichols contacted Class Counsel and
18 Defense Counsel via email to advise that Solo has an unmovable conflict with the new date of the

19 Final Approval Hearing and to ask for a continuance to December 19, 2022 or to another agreeable

20 date. See de Bartolomeo Decl. ¶ 15. Class Counsel stated that he is unavailable the following week

21 and that a continuance of the hearing and distribution of the funds was not in the interest of the class.

22 Id., Exhibit A.

23          16.      On October 17, 2022, Solo’s counsel A.J. de Bartolomeo communicated with Class
24 Counsel by email to advise them that Solo would file an Ex Parte Application for a brief continuance

25 of the December 12, 2022 Final Approval Hearing date for the reasons stated in her Declaration,

26 which she shared with Class Counsel, and asked for their position as to the request. See de Bartolomeo

27 Decl. ¶ 17. Class Counsel responded: “We are sorry but we will oppose any request for an extension

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 1 so please advise the court of this if you file. Our duty is to the class and an extension will needlessly

 2 delay the court’s final approval and distribution of settlement funds to the class.” Id., Exhibit B.

 3          17.      On October 17, 2022, Solo’s Counsel also communicated with Defense Counsel by

 4 email to advise them that Solo would file an Ex Parte Application for a brief continuance of the

 5 December 12, 2022 Final Approval Hearing date for the reasons stated in her Declaration which she

 6 shared with Defense Counsel and asked for their position as to the request. Defense Counsel advised

 7 they are conferring with their Client and would get back to counsel soon. See de Bartolomeo Decl. ¶

 8 18. At the time of this filing, Solo’s counsel had not received a further response from Defense

 9 Counsel. Id., Exhibit C.
10          18.     If Solo elected to file a motion for a brief continuation of the Final Approval Hearing
11 under regular motion procedure, rather than applying ex parte, this request would take weeks to

12 resolve under regular motion rules, which is especially problematic with the date of the Final

13 Approval Hearing approaching quickly. As mentioned in Mission Power Eng’g Co. v. Cont’l Cas.

14 Co., 883 F. Supp. 488 (C.D. Cal. 1995), “merely showing that trial is fast approaching and that the

15 opposing party still has not answered crucial interrogatories is insufficient to justify ex parte relief.

16 The moving party must also show that it used the entire discovery period efficiently and could not

17 have, with due diligence, sought to obtain the discovery earlier in the discovery period. As Judge

18 Rymer warned, ‘Ex parte applications are not intended to save the day for parties who have failed to

19 present requests when they should have....’ In re Intermagnetics America, Inc., [101 B.R. 191, 193

20 (C.D. Cal. 1989)].” Mission Power, 883 F. Supp. at 493.

21          19.     Here, the parties filed the Stipulation on the evening of October 10, 2022, the day
22 before the deadline for objections as set out in the Class Notice, and without attempting to coordinate

23 with Class Member and Objector Solo despite being aware that Solo was likely to file an objection

24 on the following day. See de Bartolomeo Decl. ¶ 13. Despite Solo communicating diligently with

25 counsel for both parties, Solo now has no choice but to file this Ex Parte Application for a brief

26 continuation of the Final Approval Hearing.

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 1          20.     Solo filed her Objection timely regarding both procedural and substantive defects in

 2 the proposed Settlement, Class Notice, and request for attorneys’ fees.

 3          21.     The Ninth Circuit stated that after reviewing each objection carefully, the trial court

 4 cannot reject substantial objections without providing an opportunity to be heard by permitting the

 5 objector’s attorney to present the objection at the hearing. Mandujano v. Basic Vegetable Prod., Inc.,

 6 541 F.2d 832, 835–36 (9th Cir. 1976); see also Boyd v. Bechtel Corp., 485 F. Supp. 610, 617 (N.D.

 7 Cal. 1979) (The district court held that in addition to substantive concerns, procedural rights of

 8 litigants must be ensured, like the rights of any objectors to the settlement. Therefore, “each objection

 9 must be made part of the record; and each opponent raising a substantial objection has a right to be
10 heard, to be represented by an attorney, and to have a reasoned response by the court on the record.”).

11          22.     Solo respectfully requests that this Court grant Solo’s Ex Parte Application so that
12 Solo can appear through her counsel of choice to have her objections heard.

13 III.     CONCLUSION
14          23.     Based upon the foregoing, Class Member and Objector Solo respectfully requests that
15 the Court continue the December 12, 2022 Final Approval Hearing to a date on or after December

16 15, 2022 at 9:00 a.m., or whatever time the Court decides.

17          DATED: October 18, 2022                         Respectfully submitted,
18

19                                                 By: /s/ A.J. de Bartolomeo

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12                                                          Attorneys for Class Member and Objector
                                                            Hope Amelia Solo Stevens
13

14

15                                     SIGNATURE ATTESTATION

16          Pursuant to Local Rule 5-1, I certify that all other signatories listed, on whose behalf the filing

17 is submitted, concur in the filing’s content and have authorized the filing.

18
      DATED: October 18, 2022                        By: /s/ A.J. de Bartolomeo
19                                                          A.J. de Bartolomeo

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